     Case 2:04-cr-00002-JRH-JEG Document 140 Filed 06/03/05 Page 1 of 1


                                                                               FILED
                                                                            0'. alit c
                   UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                        BRUNSWICK DIVISION         1005 JUN-31P 3 32 ,
                                                            CLERK
United                 States                of        America  .01,0,,'T,
                                                                    ) 5

              v     )     CR204-00002-001

Larry James Carter )



                                        ORDER


       Based upon the motion filed bythe United States Attorney's Office, pursuant to Rule

35(b), it is hereby ordered that the defendant's sentence is reduced by twenty-six (26)

months. This reduction results in a total imprisonment sentence of eight-two (82) months .

The term and conditions of supervised release previously imposed remain unchanged .


                                                 .
                           SO ORDERED, this ,        day of   d          2005




                                         Judge, U .S . Dis)rict Burt
